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April 13, 2023

VIA CM/ECF

The Honorable Paul A. Engelmayer
United States District Court
Southern District of New York

40 Foley Square, Room 2201

New York, NY 10007

Re: Avi & Co NY Corp v. ChannelAdvisor Corporation,
No. 1:22-cv-10599-PAE (S.D.N.Y.)

Dear Judge Engelmayer:

This firm represents defendant ChannelAdvisor Corporation (“ChannelAdvisor”) in
the above-referenced matter. Pursuant to Rule of Civil Procedure 6(b), Local Civil Rule
7.1(d), and Rule 1.E. of your Individual Rules of Practice in Civil Cases, ChannelAdvisor
respectfully requests a seven (7) day extension of time within which to file a reply
memorandum of law in support of its motion to dismiss. (Dkt. 17)

ChannelAdvisor filed its motion to dismiss and a motion to transfer venue on 2 March
2023 within the time allowed by the Court’s Order granting the parties’ requested schedule
for filing a complaint and preliminary motions. (Dkt. 11, 138, 17) On 6 April 2028, Plaintiff
filed a single memorandum of law in opposition to both the motion to dismiss and motion to
transfer venue. (Dkt. 23) Pursuant to Local Civil Rule 6.1(b), reply memoranda of law are
due on 13 April 2023 absent an extension of time.

ChannelAdvisor already filed a reply memorandum of law in support of its motion to
transfer venue. (Dkt. 25) However, due to other professional commitments, counsel requires
additional time to complete ChannelAdvisor’s reply memorandum on the motion to dismiss
and requests an additional seven (7) days, through and including 20 April 2023, to file that
reply memorandum. ChannelAdvisor has not previously requested an extension of time of
this deadline.

Plaintiff does not consent to this request, citing the position that ChannelAdvisor took
with regard to Plaintiffs motion to extend the time to respond to the motion to transfer (which
ChannelAdvisor did not oppose but did not consent). (Dkt. 21, 22)

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Accordingly, ChannelAdvisor respectfully requests that the Court enter an Order
which extends ChannelAdvisor’s time to file a reply memorandum of law in support of its
motion to dismiss by seven (7) days, through and including 20 April 2023.

Thank you in advance for your consideration of this matter.

Very Truly Yours,
MORNINGSTAR LAW GROUP

/s/ Jeffrey L. Roether

Jeffrey L. Roether

cc: Emanuel Kataev, Esq.

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